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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         PRETRIAL ORDER NO. 328: ORDER
                                                     DENYING MONSANTO’S MOTION
   Scheh v. Monsanto Co.,                            TO EXCLUDE EXPERT SHALIN
   Case No. 3:20-cv-02427-VC                         KOTHARI
                                                     Re: Dkt. No. 20151

         Monsanto’s motion to exclude the testimony of Dr. Shalin Kothari is denied. This ruling

assumes the reader’s familiarity with the facts, the applicable legal standard, the prior Daubert

rulings in this MDL, and the arguments made by the parties. See generally In re Roundup

Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order No. 45, Dkt.

No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D. Cal. 2019)

(Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d 941 (9th Cir.
2021).

         1. Scheh confirms in his opposition that Kothari is not offering a general causation

opinion. Scheh Opp. (Dkt. No. 20256) at 6.

         2. Kothari appropriately “ruled in” Roundup. See Pretrial Order No. 290 (Dkt. No.

18320). Kothari also appropriately explained how he considered naturally occurring genetic

mutations. See Pretrial Order No. 321 (Dkt. No. 20393) at 5. Regarding the plaintiff’s use of

personal protective equipment, Monsanto is free to cross examine Kothari on the issue, but his

explanation that Roundup could enter his body even with regular use of a respirator is enough to
survive Daubert. See Kothari Dep. (Dkt. No. 20151-3) at 60:21–19; see also Pretrial Order No.
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321 (Dkt. No. 20393) at 2.

       3. That leaves Monsanto’s arguments about Kothari’s alleged failure to rule out Scheh’s

age, gender, weight, and health history. The deposition testimony that Monsanto presented on

age, gender, and health history does not establish that Kothari’s consideration of these factors

was unreliable, nor is his report’s handling of them enough to exclude him. Kothari’s testimony

that Scheh was “barely even overweight” and that it would contribute a “minuscule” amount of

risk is a reliable reason to rule out that risk factor. Knopf Dep. at 140:5–17.

       4. Kothari clearly may not invoke Ninth Circuit decisions in support of his causation

opinion. Whether it would be appropriate to mention them for some other reason is for the trial

judge to decide. See Pretrial Order No. 202 (Dkt. No. 9143).

       IT IS SO ORDERED.

Dated: March 31, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge




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